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       In the United States Court of Federal Claims
  * * * * * * * * * * * * * * *                 *
  WHITWELL PROPERTIES, LTD,                     *
                                                *
                        Plaintiff,              *
                 v.                             *
                                                *           No. 16-677C
  UNITED STATES,                                *           Filed: June 2, 2017
                                                *
                 Defendant.                     *
  * * * * * * * * * * * * * * *                 *


                                         ORDER

       The court is in receipt of the parties’ June 2, 2017 joint stipulation of dismissal with
prejudice of the above-captioned case. Pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the
United States Court of Federal Claims (2016), this court ORDERS that this case be
DISMISSED with prejudice, with each party to bear its own costs.


       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
